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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CALEB BARNETT, et al.,
      Plaintiffs,
              vs.
                                                         Case No. 3:23-cv-209-SPM
 KWAME RAOUL, et al.,
                                                         ** designated Lead Case
      Defendants.

 DANE HARREL, et al.,
      Plaintiffs,
              vs.
                                                         Case No. 3:23-cv-141-SPM
 KWAME RAOUL, et al.,
      Defendants.

 JEREMY W. LANGLEY, et al.,
      Plaintiffs,
              vs.                                        Case No. 3:23-cv-192-SPM
 BRENDAN KELLY, et al.,
      Defendants.

 FEDERAL FIREARMS
 LICENSEES OF ILLINOIS, et al.,
      Plaintiffs,
                                                         Case No. 3:23-cv-215-SPM
              vs.
 JAY ROBERT “JB” PRITZKER, et al.,
      Defendants.


                         STATE DEFENDANTS’ STATUS REPORT
       The State Defendants in these consolidated actions—Governor JB Pritzker, Attorney

General Kwame Raoul, and Illinois State Police Director Brendan Kelly—provide this status

report in advance of the status conference scheduled for this afternoon at 1:30 p.m. This status

report is presented solely on the State Defendants’ behalf and not on behalf of any other parties.

       1.      The parties appeared before the Court on Friday, January 12, 2024, at a status

conference in these consolidated actions following the Seventh Circuit’s remand of the

interlocutory appeals of the Court’s April 28, 2023 preliminary injunction ruling. At that status

conference, the plaintiffs in three of these consolidated actions (Barnett, Harrel, and Federal

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Firearms Licensees of Illinois (“FFL”)) proposed that the Court continue to stay proceedings on

their Second Amendment claims in this forum while they pursue petitions for writ of certiorari in

the United States Supreme Court regarding the Seventh Circuit’s November 3, 2023 ruling

vacating this Court’s April 28, 2023 preliminary injunction. See Bevis v. City of Naperville, 85

F.4th 1175 (7th Cir. 2023). The State Defendants indicated that they did not object to extending

the stay pending resolution of the forthcoming cert petition. The plaintiffs in Langley indicated

their opposition to a stay.

        2.      The Court indicated that the proceedings in this forum would not be stayed pending

resolution of the forthcoming cert petitions. The Court ordered plaintiffs’ counsel to confer with

one another the following week (specifically, January 15 through January 21) regarding a proposed

case management plan, and to confer with counsel for the defendants the week thereafter

(specifically, January 22 through January 29).

        3.      The first correspondence the State Defendants received pursuant to the Court’s

order was an email from counsel for the FFL plaintiffs (Mr. Brady) at 7:04 p.m. CST on

Wednesday, January 24, inquiring about availability for a meet-and-confer “on or before” Monday,

January 29—the last date to comply with the Court’s order. 1 Mr. Brady’s email included seven

topics and/or questions for discussion, but did not include any proposal or proposed schedule for

discovery or other proceedings. Mr. Brady’s email omitted counsel for multiple defendants—e.g.,

counsel for various State’s Attorneys.




1
 Counsel for the State Defendants (Mr. Wells) spoke briefly by phone immediately following the
January 12 status conference with one set of plaintiffs’ counsel (Mr. Michel on behalf of the FFL
plaintiffs exclusively). No specific proposal was discussed, as counsel for the four plaintiff groups
had yet to confer following the January 12 status conference.
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       4.        Counsel for the State Defendants (Ms. Muse) responded by email the next morning,

January 25, indicating availability on Friday, January 26, and Monday, January 29, and proposing

that the parties schedule a second, additional opportunity to confer on Thursday, February 1. Ms.

Muse reminded plaintiffs’ counsel that the Office of the Illinois Attorney General does not

represent all defendants. The State Defendants also requested that the plaintiffs provide a simple

chart illustrating each plaintiff’s respective claims with columns indicating what activity regulated

by the challenged statute they wished to engage in (e.g., sell, purchase, manufacture, possess) and

for which regulated items. The State Defendants indicated that the plaintiffs’ chart would facilitate

discussion about how to streamline proceedings on the plaintiffs’ overlapping claims, and would

enable the State Defendants to identify what challenges to plaintiffs’ standing, if any, the State

Defendants would raise.

       5.        Plaintiffs’ counsel added counsel for the additional defendants to the email

correspondence, and the plaintiffs and State Defendants agreed to meet and confer by Zoom on

Monday, January 29, at 2 p.m. CST. At 12:23 p.m. on January 29, counsel for the Barnett plaintiffs

(Ms. Brookins) emailed the State Defendants the requested chart of plaintiffs’ respective claims,

while noting that counsel for the Langley plaintiffs, Thomas Maag, had not signed off on the chart

at that time. Among other things, the chart indicated that two plaintiff groups—the Langley and

Harrel plaintiffs—intended to challenge the prohibition on semiautomatic rifles with “grenade

launcher[s]” in the Protect Illinois Communities Act (“the Act”), see, e.g., 720 ILCS 5/24-

1.9(a)(1)(A)(v). As with their prior correspondence, the plaintiffs failed to include any proposed

case schedule.

       6.        Based on the State Defendants’ understanding of the Court’s instructions, counsel

for the State Defendants (Ms. Muse) emailed plaintiffs’ counsel a proposed case schedule at 1:06



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p.m. on January 29 in advance of the meet-and-confer. In accordance with the Federal Rules of

Civil Procedure (“FRCP”), and given the number of parties involved, the apparent breadth of the

plaintiffs’ claims, and the schedules adopted in comparable Second Amendment challenges, the

State Defendants proposed the following schedule for the Second Amendment claims: 2

                 February 16        Parties exchange initial disclosures pursuant to FRCP
                                    26(a)(1)(A)

                 March 1             Parties to issue written discovery

                 April 1            Parties to respond to written discovery

                 April 15           Parties confer regarding any discovery deficiencies

                 May 1              Deadline for filing motions to compel regarding written
                                    discovery

                 June 30            Deadline to complete fact witness depositions

                 August 1           Deadline for plaintiffs’ expert reports pursuant to FRCP
                                    26(a)(2)

                 September 30       Deadline to complete depositions of plaintiffs’ experts

                 October 30         Deadline for defendants’ expert reports pursuant to FRCP
                                    26(a)(2)

                 November 30        Deadline to complete depositions of defendants’ experts



The State Defendants acknowledged that this was an expedited schedule given the number of

parties involved. Local Rule 16.1(a) provides that a multi-party case such at this should be given




2
  The Court has already denied the Langley plaintiffs’ motion for summary judgment on their
vagueness claims, ECF 132, and dismissed the FFL plaintiffs’ Due Process claims, ECF 136. The
Langley plaintiffs’ Fifth Amendment claims are subject to pending cross-motions for summary
judgment. ECF 133, 151. Thus, the parties discussed a case management plan for the remaining
Second Amendment claims.
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a 15–18 month pretrial schedule, but this proposed schedule took into consideration the Court’s

request for a more expedited proposal.

        7.      At 2 p.m. on January 29, counsel for the plaintiffs, the State Defendants, and some

(though not all) State’s Attorney defendants, met and conferred via Zoom for approximately one

hour. In that discussion, the State Defendants came to understand that the plaintiffs’ approach to

prosecuting their claims was likely to be significantly different than how the plaintiffs had argued

their claims in the preliminary injunction proceedings. Specifically, counsel for the Barnett

plaintiffs indicated that plaintiffs would offer proof on 9 categories of weapons but did not indicate

with specificity what those nine categories of weapons would be. Counsel for the State Defendants

noted that plaintiffs’ approach at the preliminary injunction stage had been heavily focused on the

numerosity of “modern sporting rifles,” and did not reflect the 9-category typology that plaintiffs

were now proposing. Plaintiffs’ counsel indicated that the 9-category approach was based on

plaintiffs’ understanding of what their burden is under the Seventh Circuit’s decision in the

interlocutory appeal, and that understanding differs from how plaintiffs understood their burden at

the outset of this litigation.

        8.      During the January 29 meet-and-confer, counsel for the State Defendants requested

that plaintiffs’ counsel provide in writing a description of the 9 categories on which plaintiffs

planned to offer proof and information about the scope of expert testimony plaintiffs planned to

offer. In addition, counsel for the State Defendants requested that plaintiffs’ counsel respond to

the State Defendants’ proposed case schedule. All counsel present agreed to meet and confer again

on Thursday, February 1, at 2 p.m. CST.

        9.      On Thursday, February 1, at 12:54 p.m. CST, counsel for the Barnett plaintiffs

emailed counsel for the State Defendants and the additional defendants a “matrix showing the



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banned firearms by named model in the rows, and by statute category/feature subpart across the

columns.” Counsel for the Barnett plaintiffs expressly indicated that counsel for the Langley

plaintiffs had not signed off on the “matrix”. The “matrix” included 48 rows and 44 columns under

various labels. Counsel for the State Defendants was not able to readily identify from the “matrix”

the 9 categories referenced by plaintiffs’ counsel in the January 29 meet and confer. In addition to

attaching the “matrix,” the transmittal email also identified 9 “expert topics,” but without

identifying the number of experts plaintiffs planned to disclose or their identities. Plaintiffs did not

include a counter-proposal to the State Defendants’ proposed schedule.

        10.     During the February 1 meet and confer, counsel for the State Defendants and

plaintiffs’ counsel initially discussed the “matrix” transmitted by counsel for the Barnett plaintiffs.

In that discussion, the State Defendants noted their concern that plaintiffs’ standing to challenge

many of the items included in the “matrix” was not evident in their pleadings. For example, neither

the Harrel nor the Langley plaintiffs make allegations about an intent to sell, purchase, or possess

grenade launchers. In addition, many of the plaintiffs’ complaints focused heavily on AR-15-type

rifles, and plaintiffs’ standing to challenge other types of firearms (e.g., weapons no longer being

produced for the U.S. market) regulated by the statute was not evident. The State Defendants

proposed that plaintiffs promptly amend their pleadings to identify what specific items regulated

by the Act they seek to manufacture, purchase, sell, or possess in a manner prohibited by the Act.

The State Defendants indicated that the amended pleadings could help avoid motion practice and

streamline discovery to efficiently move the case forward. Plaintiffs’ counsel indicated their

willingness to consider the proposal and confer with their clients. The State Defendants also

requested that plaintiffs’ counsel respond in writing to the State Defendants’ proposed schedule as

soon as possible to determine whether an agreed-upon schedule could be presented to the Court in



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advance of the February 2 status conference. The February 1 meet-and-confer lasted approximately

90 minutes.

       11.     Subsequent to the meet and confer with counsel for all plaintiffs, on the afternoon

of February 1, counsel for the Barnett plaintiffs (Mr. Rowen) spoke by phone multiple times with

counsel for the State Defendants (Mr. Wells).

       12.     This morning, at 8:23 a.m., counsel for the Barnett plaintiffs (Mr. Rowen) emailed

counsel for the State Defendants (Mr. Wells and Ms. Muse) requesting to speak by phone. Counsel

for the State Defendants (Mr. Wells and Mr. Muse) spoke with counsel for the Barnett plaintiffs

(Mr. Rowen) for approximately 15 minutes beginning at 8:30 a.m. Mr. Rowen indicated that

plaintiffs would not agree to amend their pleadings, but that Mr. Rowen would transmit a counter-

proposal regarding a case schedule subject to the caveat that Mr. Maag, counsel for the Langley

plaintiffs, had not indicated his approval or disapproval of the counter-proposal.

       13.     At 8:36 a.m., Mr. Rowen transmitted to Mr. Wells and Ms. Muse, exclusively, the

following proposed schedule:




       14.     The State Defendants respectfully object to the proposed schedule tendered by

counsel for the Barnett plaintiffs because it is significantly prejudicial to the State Defendants and




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inconsistent with the Federal Rules of Civil Procedure, the Local Rules (see, e.g., Local Rule

16.1(a)), the State Defendant’s due process rights, and typical federal court practice.

       15.     At this point, the State Defendants lack basic information about the scope of

plaintiffs’ claims and how they plan to prosecute them in light of the Seventh Circuit’s ruling on

interlocutory appeal. Which plaintiffs are challenging which parts of the statute? Because standing

is not dispensed in gross,3 what is the basis for each plaintiff’s standing for those claims? What

specific regulated items does each specific plaintiff want and for what purpose? While some

counsel for some plaintiffs have endeavored to provide some of this basic information, even the

information provided raises basic questions about the scope of the claims in this case. As noted,

two sets of plaintiffs (Harrel and Langley) apparently believe “grenade launchers” are part of their

claims. Where are those allegations in their respective complaints?

       16.     In the interest of streamlining this litigation and avoiding unnecessary discovery,

the State Defendants respectfully request that the Court order plaintiffs to promptly amend their

pleadings to specifically identify what parts of the Act they are challenging and what allegations

they have that support their standing to bring those specific claims. In addition, the State

Defendants respectfully suggest that the parties would benefit from meeting with the magistrate

judge to develop a proposed case management schedule that accords with the Federal Rules of

Civil Procedure and the Local Rules. Participation of a magistrate judge would ensure that all




3
 See TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021) (“[S]tanding is not dispensed in
gross; rather, plaintiffs must demonstrate standing for each claim they press and for each form of
relief that they seek (for example, injunctive relief and damages).”) Lujan v. Defs. of Wildlife,
504 U.S. 555, 564 (1992) (“[T]he affiants’ profession of an ‘intent’ . . . is simply not enough.
Such ‘some day’ intentions—without any description of concrete plans, or indeed even any
specification of when the some day will be—do not support a finding of the ‘actual or imminent’
injury that our cases require.”)
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parties and their counsel participate and that the parties can attempt to narrow the scope of their

potential disputes and discovery needs outside the presence of the likely trier of fact.



Date: February 2, 2024                                    Respectfully submitted,
                                                          /s/ Christopher G. Wells
                                                          Christopher G. Wells, No. 6304265
                                                          Kathryn Hunt Muse
                                                          Office of the Attorney General
                                                          115 S. LaSalle St.
                                                          Chicago, IL 60603
                                                          (312) 814-3000
                                                          Christopher.Wells@ilag.gov

                                                          Counsel for Defendants Governor J.B.
                                                          Pritzker, Attorney General Kwame
                                                          Raoul, and ISP Director Brendan Kelly




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